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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


   UNITED STATES OF AMERICA,                :
                                            :
         Plaintiff,                         :
                                            :
   v.                                       :     CASE NO. 8:06-cr-515-T-30TBM
                                            :
   OCTAVIUS JEFFERSON,                      :
                                            :
         Defendant.                         :
                                            :


                        FINAL JUDGMENT OF FORFEITURE

         THIS CAUSE comes before the Court upon the filing of the Motion (Dkt.

   #112) by the United States for a Final Judgment of Forfeiture for the following

   property:

                 a.    Glock, model 30 .45 caliber pistol,
                       serial number: EGP592US;

                 b.    Armi Elli Tanfoglio, model TA22, .22 caliber revolver,
                       serial number: 86918;

                 c.    Hi-Point, Beemiller, model C9, 9mm pistol,
                       serial number: P183467;

                 d.    Winchester .45 caliber ammunition;

                 e.    Winchester 9mm Luger ammunition; and

                 f.    .22 caliber ammunition.

         1.      On September 25, 2007, the United States filed a Motion for Entry of

   a Preliminary Order of Forfeiture, seeking forfeiture of defendant Octavius
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   Jefferson’s interest in the weapons identified in the Indictment, pursuant to the

   provisions of 18 U.S.C. § 924(d)(1) and 28 U.S.C. § 2461(c). (Doc. 100).

          2.      On September 25, 2007, the Court granted the United States’ motion

   and entered the Preliminary Order of Forfeiture (Doc. 101), forfeiting to the United

   States of America all right, title, and interest of defendant Octavius Jefferson in the

   weapons listed above.

          3.      In accordance with the provisions of 21 U.S.C. § 853(n), the United

   States published notice of the forfeiture, and of its intent to dispose of the properties,

   in the Tampa Tribune, a newspaper of general circulation in Hillsborough County,

   Florida on February 18, 2008, February 25, 2008 and March 3, 2008. (Doc. 111).

   The publication gave notice to all third parties with a legal interest in the subject

   property to file with the Office of the Clerk, United States District Court, Middle

   District of Florida, Sam Gibbons Federal Courthouse, 2nd Floor, 801 North Florida

   Avenue, Tampa, Florida 33602, a petition to adjudicate their interest within 30 days

   of the final date of publication.

          4.      No persons or entities, other than the defendant Octavius Jefferson,

   whose interest was forfeited to the United States in the Preliminary Order of

   Forfeiture, is known to have an interest in the subject property. To date, no third

   party, has filed a Petition to Adjudicate Interest in the subject properties to date, and

   the time for filing such Petition has expired.




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         5.     The Court finds that the subject property is the property of defendant

   Octavius Jefferson.

         Accordingly, it is hereby

         ORDERED, ADJUDGED and DECREED that the United States’ motion (Dkt.

   #112) is GRANTED. It is FURTHER ORDERED that all right, title and interest in the

   following property is CONDEMNED and FORFEITED to the United States of

   America, pursuant to the provisions of Fed. R. Crim. P. 32.2(c)(2) and 18 U.S.C. §

   924(d)(1) and 28 U.S.C. § 2461(c), for disposition according to law:

                a.       Glock, model 30 .45 caliber pistol,
                         serial number: EGP592US;

                b.       Armi Elli Tanfoglio, model TA22, .22 caliber revolver,
                         serial number: 86918;

                c.       Hi-Point, Beemiller, model C9, 9mm pistol,
                         serial number: P183467;

                d.       Winchester .45 caliber ammunition;

                e.       Winchester 9mm Luger ammunition; and

                f.       .22 caliber ammunition.

         Clear title to the property is now vested in the United States of America.

         DONE and ORDERED in Tampa, Florida on April 4, 2008.




   Copies furnished to:
   Counsel/Parties of Record
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